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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


EIG ENERGY FUND XIV, L.P.,             :
EIG ENERGY FUND XIV-A, L.P.,           :
EIG ENERGY FUND XIV-B, L.P.,           :
EIG ENERGY FUND XIV (CAYMAN), L.P.,    :
EIG ENERGY FUND XV, L.P.,              :
EIG ENERGY FUND XV-A, L.P.,            :          Case No. 1:16-cv-333-APM
EIG ENERGY FUND XV-B, L.P.,            :
EIG ENERGY FUND XV (CAYMAN), L.P.,     :
and EIG MANAGEMENT COMPANY, LLC,       :
                                       :
                           Plaintiffs, :          FIRST AMENDED COMPLAINT
                                       :
               - against -             :
                                       :
PETRÓLEO BRASILEIRO S.A.,              :          DEMAND FOR JURY TRIAL
ODEBRECHT S.A., ODEBRECHT              :
PARTICIPAÇÕES E ENGENHARIA S.A.,       :
KEPPEL CORPORATION LTD., KEPPEL        :
OFFSHORE & MARINE LTD., SEMBCORP :
INDUSTRIES LTD., SEMBCORP MARINE :
LTD., and JURONG SHIPYARD PTE LTD., :
                                       :
                           Defendants. :


              Plaintiffs EIG Energy Fund XIV, L.P., EIG Energy Fund XIV-A, L.P., EIG

Energy Fund XIV-B, L.P., EIG Energy Fund XIV (Cayman), L.P., EIG Energy Fund XV, L.P.,

EIG Energy Fund XV-A, L.P., EIG Energy Fund XV-B, L.P. and EIG Energy Fund XV

(Cayman), L.P. (together, the “Funds”) and EIG Management Company, LLC (“EIG”), by their

attorneys Coburn & Greenbaum PLLC and Kramer Levin Naftalis & Frankel LLP, for their First

Amended Complaint against defendants Petróleo Brasileiro S.A. (“Petrobras”), Odebrecht S.A.

(“Odebrecht”), Odebrecht Participações e Engenharia S.A. (“Odebrecht Engenharia”), Keppel

Corporation Ltd. (“Keppel”), Keppel Offshore & Marine Ltd. (“Keppel Offshore”), Sembcorp

Industries Ltd. (“Sembcorp”), Sembcorp Marine Ltd. (“Sembcorp Marine”) and Jurong
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Shipyard Pte Ltd. (“Jurong”) (all defendants other than Petrobras are collectively referred to as

the “Shipyard Defendants”), allege as follows:

                                       Nature of the Action

               1.      This action arises from a fraudulent conspiracy perpetrated by defendants

against plaintiffs whereby the Funds, acting through their investment manager EIG, were

fraudulently induced to invest over $221 million to purchase equity in Sete Brasil Participações,

S.A. (“Sete”). Sete was conceived and created by Petrobras for the sole purpose of enticing third

party financiers in the United States and elsewhere, such as the Funds, to invest billions of

dollars in off-balance sheet financing to build, own and operate a portfolio of specialty drillships

exclusively for Petrobras’s use in oil and gas drilling operations offshore of Brazil. Through a

series of misrepresentations and omissions directed at EIG, Petrobras fraudulently procured the

Funds’ investment and proceeded to use that money to perpetuate and expand a covert and

massive corruption scheme to enrich itself and its co-conspirators. The scheme, when exposed in

late 2014, promptly and directly caused the collapse and bankruptcy of Sete, and rendered the

Funds’ investment worthless.

               2.      Petrobras created Sete in early 2010, following the discovery of massive

oil and gas reserves (commonly known as the “Pre-Salt Reserves”) off the coast of Brazil. To

tap into the hydrocarbons contained in the Pre-Salt Reserves, Petrobras required the exclusive

use, for many years, of drillships designed to operate in ultra-deep waters. The contract-bidding

process for the drillships was rigged from the start. Upon information and belief, to procure

drillship contracts, shipyards including the Shipyard Defendants agreed to pay – and did pay –

bribes and kickbacks to Petrobras executives and representatives of the Workers Party of Brazil,

the controlling political party that dominated Petrobras’ major shareholder, the Brazilian federal

government. Upon information and belief, the Shipyard Defendants had knowledge of, approved
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of and/or directed these bribe payments, either directly or through their subsidiaries, agents or

representatives.

               3.      In order for this bribery scheme to advance, the co-conspirators required a

substantial influx of capital. Petrobras envisioned a fleet of over 28 drillships, at a cost of over

$700 million per drillship, resulting in a total capital need of approximately $20 billion. Rather

than fund such a massive capital investment itself, Petrobras determined to locate third party

financiers, such as the Funds, to own and capitalize a company, Sete, which would then use

investor funds and bank financing to hire shipbuilding companies – including those owned by the

Shipyard Defendants and their subsidiaries – to construct the drillships in local shipyards. Once

completed, the drillships would be chartered back to Petrobras, and the resulting charter

payments would be used to repay the banks’ construction loans, cover the costs of operating

Sete, and provide a return on investment to the Funds and other investors.

               4.      To induce the Funds to invest in Sete, Petrobras and Sete (both directly

and through their agents) provided certain “confidential information memoranda” and other

marketing materials to EIG representatives in Washington, D.C. and elsewhere. The memoranda

and materials described and discussed Sete’s business plan and ostensibly identified all material

risks of investing in Sete. Petrobras and Sete representatives further described and discussed

Sete’s business plan in oral representations made to EIG and EIG investors (which include

various U.S.-based pension funds and institutional investors) during, among other interactions,

meetings in Houston, Texas, Washington, D.C and Rio de Janeiro, Brazil. But in such meetings

and memoranda, Petrobras and Sete made material misrepresentations to EIG and never

disclosed to EIG that, by the time Sete was created, Petrobras had already been perpetrating for

years a massive and highly organized scheme wherein companies, including Odebrecht and

Keppel, in exchange for Petrobras contracts, would pay substantial bribes and kickbacks to line
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the pockets of Petrobras’s management and the Workers Party of Brazil. Nor did Petrobras

disclose to EIG that Petrobras intended to – and, in fact, did – continue to expand its corrupt

scheme by embedding bribes and kickbacks into each new contract Sete entered into with the

shipyards including those controlled by the Shipyard Defendants.

               5.      Upon information and belief, the fraudulent solicitation of capital from

investors such as the Funds was a prerequisite for, and was carried out in direct furtherance of,

an overarching bribery scheme involving Petrobras, Sete, the Shipyard Defendants and

additional co-conspirators. Petrobras needed Sete to raise investment capital to pay the Shipyard

Defendants and their subsidiaries under the shipbuilding contracts which appear to have been

improperly obtained by the Shipyard Defendants. In turn, Petrobras and the Shipyard

Defendants then used that investment capital not only for purposes of commencing construction

on certain drillships, but also to pay bribes pocketed by officials of the Workers Party,

employees of Petrobras and ex-Petrobras cronies installed by Petrobras at Sete.

               6.      When Brazilian federal police and prosecutors uncovered and revealed

this scheme (the “Petrobras Corruption Scheme”) – which has become part of the largest

public scandal in the history of Brazil, with criminal charges filed against 179 persons and 93

convictions to date, arising from offenses that involved the payment of a total of more than $1.8

billion in bribes and kickbacks – Sete’s drillship construction lenders promptly cut off further

critical construction funding for Sete, thereby causing the company to default on its shipbuilding

contracts. Sete quickly collapsed, and it filed for bankruptcy in April 2016. Without drillships

to charter to Petrobras, Sete has no source of income to repay the construction banks, its own

employees and other trade creditors or the Funds.

               7.      Brazilian prosecutors discovered defendants’ Petrobras Corruption

Scheme in and after 2014 through an ongoing investigation dubbed Operação Lava Jato
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(“Operation Car Wash”). In connection with Operation Car Wash, authorities in Brazil have

entered into plea agreements with, among others, João Carlos de Medeiros Ferraz (“Ferraz”),

Pedro José Barusco Filho (“Barusco”) and Eduardo Costa Vaz Musa (“Musa”) – three former

Petrobras executives whom Petrobras installed as Sete’s most senior executives.

               8.      As part of his plea agreement, Barusco made signed and recorded

statements to the Brazilian federal police, and gave sworn testimony before the Brazilian

Congress, describing in detail the Petrobras Corruption Scheme involving Petrobras, ex-

Petrobras cronies installed by Petrobras at Sete, the Shipyard Defendants and others. Barusco

admitted, among other things, that Renato Duque (“Duque”) and Roberto Gonçalves

(“Gonçalves”) of Petrobras, João Vaccari Neto (“Vaccari”) of the Workers Party, and Sete

executives Barusco, Ferraz and Musa, procured bribes from shipyards – including those owned

and controlled by the Shipyard Defendants – in the amount of approximately 1 percent of the

value of the twenty-eight contracts that Sete executed with the shipyards. According to Barusco,

the total value of these twenty-eight contracts was $22 billion. Ferraz, Barusco and Musa have

subsequently agreed to disgorge close to $100 million of the bribes they received, much or all of

which they had secreted in Swiss bank accounts opened in the names of phantom entities.

               9.      The public disclosure of the Petrobras Corruption Scheme has crippled

Sete by causing, among other things, the cancellation of Sete’s contracts to lease drillships to

Petrobras, the withdrawal by lenders of bank financing vital to Sete’s operations, and Sete’s

filing for bankruptcy in April 2016. The Funds’ investment in Sete is now worthless. By this

action, EIG and the Funds seek redress for the injuries they have suffered due to the defendants’

fraudulent corruption conspiracy.




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                                            Plaintiffs

               10.     Plaintiff EIG Energy Fund XIV, L.P. is a limited partnership organized

and existing under the laws of the State of Delaware.

               11.     Plaintiff EIG Energy Fund XIV-A, L.P. is a limited partnership organized

and existing under the laws of the State of Delaware.

               12.     Plaintiff EIG Energy Fund XIV-B, L.P. is a limited partnership organized

and existing under the laws of the State of Delaware.

               13.     Plaintiff EIG Energy Fund XIV (Cayman), L.P. is a limited partnership

organized and existing under the laws of the Cayman Islands.

               14.     Plaintiff EIG Energy Fund XV, L.P. is a limited partnership organized and

existing under the laws of the State of Delaware.

               15.     Plaintiff EIG Energy Fund XV-A, L.P. is a limited partnership organized

and existing under the laws of the State of Delaware.

               16.     Plaintiff EIG Energy Fund XV-B, L.P. is a limited partnership organized

and existing under the laws of the State of Delaware.

               17.     Plaintiff EIG Energy Fund XV (Cayman), L.P. is a limited partnership

organized and existing under the laws of the Cayman Islands.

               18.     Plaintiff EIG is a limited liability company organized and existing under

the laws of the State of Delaware, with its principal place of business located at 1700

Pennsylvania Avenue, NW, Suite 800, Washington, D.C. 20006. EIG is a registered investment

adviser, and serves as investment adviser to, and investment manager of, the Funds. As such,

EIG acts as the legal representative and agent of the Funds and the Funds’ investors (including

the Funds’ U.S. investors) in the Funds’ investment activities.



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                                    Defendant Co-Conspirators

                19.     Upon information and belief, defendant co-conspirator Petrobras is a

corporation organized and existing under the laws of Brazil, operating globally, with its principal

place of business located at Avenida República do Chile, No. 65, 23rd Floor, 20031-912, Rio de

Janeiro, Brazil, and an office located at 570 Lexington Avenue, New York, NY 10022. Upon

further information and belief, the government of Brazil is the majority owner of Petrobras, such

that Petrobras is both a foreign state within the meaning of 28 U.S.C. § 1603(a) and an agency or

instrumentality of a foreign state within the meaning of 28 U.S.C. § 1603(b). Upon information

and belief, debt and/or equity securities issued by Petrobras, either directly or through

subsidiaries or affiliates, trade in the United States.

                20.     Upon information and belief, defendant co-conspirator Odebrecht is a

corporate conglomerate organized and existing under the laws of Brazil, operating globally, with

its principal place of business located at Av. Luís Viana, 2841, Edifício Odebrecht

Paralela, SP 41730-900, Salvador, Brazil. Upon further information and belief, Odebrecht,

through its wholly-owned subsidiary Odebrecht Engenharia and other intermediate entities, is the

ultimate parent company and controlling shareholder of Enseada Indústria Naval S.A. (f/k/a

Estaleiro Enseada do Paraguaçu S.A.) (the “Odebrecht Shipyard”), a shipbuilding company

which owns and operates the shipyard known as the Paraguaçu Unit in the Bahia region of

Brazil. Upon further information and belief, Odebrecht has maintained control over and

knowledge of the activities of the Odebrecht Shipyard since it was founded in or about 2010.

                21.     Upon information and belief, defendant co-conspirator Odebrecht

Engenharia (f/k/a Santa Dorothea Empreendimentos e Participações S.A.) is a corporation and

wholly-owned subsidiary of Odebrecht organized and existing under the laws of Brazil,

operating globally, with its principal place of business at Rua Lemos Monteiro, 120 12º andar,
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Parte F, Butanta, SP 05501-050, São Paulo, Brazil. Upon further information and belief,

Odebrecht Engenharia, through intermediate entities, is a parent company and controlling

shareholder of the Odebrecht Shipyard and has maintained control over and knowledge of the

activities of the Odebrecht Shipyard since it was founded in or about 2010.

               22.    Upon information and belief, defendant co-conspirator Keppel is a

corporation organized and existing under the laws of Singapore, operating globally, with its

principal place of business located at 1 HarbourFront Avenue, 18-01 Keppel Bay Tower,

098632, Singapore. Upon further information and belief, Keppel, through its wholly-owned

subsidiary Keppel Offshore and other intermediate entities, is the ultimate parent company and

one hundred percent shareholder of Estaleiro BrasFELS Ltda. (the “Keppel Shipyard”), a

shipbuilding company which owns and operates a shipyard in the Angra dos Reis region of

Brazil. Upon further information and belief, Keppel has maintained control over and knowledge

of the activities of the Keppel Shipyard since it was founded in or about 2000.

               23.    Upon information and belief, defendant co-conspirator Keppel Offshore is

a corporation and wholly-owned subsidiary of Keppel organized and existing under the laws of

Singapore, operating globally, with its principal place of business at 50 Gul Road, 629351,

Singapore. Upon further information and belief, Keppel Offshore, through intermediate entities,

is a parent company and one hundred percent shareholder of the Keppel Shipyard and has

maintained control over and knowledge of the activities of Keppel Shipyard since it was founded

in or about 2000.

               24.    Upon information and belief, defendant co-conspirator Sembcorp is a

corporation organized and existing under the laws of Singapore, operating globally, with its

principal place of business at No. 05-04, 30 Hill Street, 179360, Singapore. Upon further

information and belief, Sembcorp, through its subsidiaries Sembcorp Marine and Jurong, is the
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ultimate parent company and majority shareholder of Estaleiro Jurong Aracruz Ltda. (the

“Sembcorp Shipyard”), a shipbuilding company, which owns and operates a shipyard in the

Espirito Santo region of Brazil. Upon further information and belief, Sembcorp has maintained

control over and knowledge of the Sembcorp Shipyard since it was founded in or about 2009.

               25.     Upon information and belief, defendant co-conspirator Sembcorp Marine

is a corporation organized and existing under the laws of Singapore, operating globally, with its

principal place of business at 29 Tanjong Kling Road, 628054, Singapore. Upon further

information and belief, Sembcorp Marine, through its wholly-owned subsidiary Jurong, is a

parent company and one hundred percent shareholder of the Sembcorp Shipyard and has

maintained direct control over and knowledge of the activities of the Sembcorp Shipyard since it

was founded in or about 2009.

               26.     Upon information and belief, defendant co-conspirator Jurong is a

corporation organized and existing under the laws of Singapore, operating globally, with its

principal place of business at 29 Tanjong Kling Road, 628054, Singapore. Upon further

information and belief, Jurong is a parent company and one hundred percent shareholder of the

Sembcorp Shipyard and has maintained control over and knowledge of the activities of the

Sembcorp Shipyard since it was founded in or about 2009.

               27.     Upon information and belief, the acts charged in this First Amended

Complaint to have been done by the defendant co-conspirators were authorized, ordered or done

by their officers, agents, employees, or representatives, while actively engaged in the

management of the defendant co-conspirators’ affairs, and the acts taken by defendant co-

conspirators in furtherance of the Petrobras Corruption Scheme are imputed to each and every

member of the conspiracy.



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                                      Jurisdiction and Venue

               28.     The Court has subject matter jurisdiction over this action pursuant to 28

U.S.C. § 1330(a) because defendant Petrobras is a foreign state as defined in 28 U.S.C. §

1603(a), and plaintiffs have asserted claims for relief against Petrobras as to which it is not

entitled to immunity under 28 U.S.C. §§ 1605-1607 or under any applicable international

agreement. This action falls within, among others, the exception to foreign sovereign immunity

created by 28 U.S.C. § 1605(a)(2). This court has supplemental jurisdiction over the claims

against the Shipyard Defendants pursuant to 28 U.S.C. § 1367 because those claims are so

related to claims in the action within the Court’s original subject matter jurisdiction that they

form part of the same case or controversy.

               29.     The Court has personal jurisdiction over Petrobras pursuant to 28 U.S.C. §

1330(b) because the claims asserted in this action fall within this Court’s subject matter

jurisdiction under 28 U.S.C. § 1330(a) and plaintiffs have effected service upon Petrobras in

accordance with 28 U.S.C. § 1608. The Court has personal jurisdiction over the Shipyard

Defendants under D.C. Code § 13-423(a) because those defendants participated with Petrobras

and others in an unlawful conspiracy and overt acts taken in furtherance of that conspiracy, such

as the fraudulent inducement of the Funds’ investment in Sete, were taken within and directed at

the District of Columbia. In addition, plaintiffs have suffered tortious injury in the District of

Columbia, including the loss of their investment in Sete, as the result of acts and omissions taken

in furtherance of the defendants’ conspiracy.

               30.     Venue is proper in this district pursuant to 28 U.S.C. § 1391. Defendant

Petrobras is both a foreign state as defined in 28 U.S.C. § 1603(a) and an agency or

instrumentality of a foreign state as defined in 28 U.S.C. § 1603(b) and a substantial part of the

events giving rise to the claims asserted herein occurred and caused damages in this district.
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                                        Statement of Facts

       Petrobras Creates Sete

               31.     In or about 2006, Petrobras announced one of the most significant

discoveries of new oil reserves in the preceding 30 years: the Pre-Salt Reserves located in the

Campos and Santos Basins off the coast of Brazil. Petrobras and others believed that these

basins contained up to 50 billion barrels of oil, which prompted Petrobras to undertake a massive

capital expenditure program to extract the oil. This discovery would mark another opportunity

for Petrobras and its co-conspirators to perpetuate and grow their institutionalized corruption

scheme.

               32.     Petrobras conceived of the idea of forming Sete in early 2010. According

to Barusco’s testimony before the Brazilian Congress, “the initiative to create Sete Brasil” was

taken by Barusco and Ferraz, who, at the time of Sete’s creation, were longtime and senior

Petrobras employees. By creating Sete, which itself would incur the massive amounts of

financing required to carry out Petrobras’s drilling program, Petrobras effectively shifted that

financing off of its balance sheet and onto Sete’s.

               33.     According to information memoranda that Petrobras and Sete prepared

and provided to EIG, the plan was for Sete – through contracts with shipyards – to build and own

up to 28 deep-water drillships, and charter them to Petrobras. The information memoranda

further stated that Sete would have a competitive advantage over other potential drillship

providers because it would construct its drillships using shipyards and labor in Brazil, and thus

comply with “local content” rules that the Brazilian government imposed. Moreover, according

to the information memoranda, Sete had “strong support from the Brazilian Federal Government,

including financial support” because it was to be the bedrock of a program to revitalize the

Brazilian shipbuilding industry, an important political goal of the Brazilian government.
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               34.     The information memoranda stated that Sete planned to rely heavily on

borrowed money to build the drillships and to otherwise conduct its operations, with equity

investments making up the remainder of Sete’s overall capital structure. Thus, according to the

memoranda, Sete’s “funding strategy [would be] focused on financing sources with large

underwriting potential.” And consistent with representations that Sete enjoyed “strong support

from the Brazilian Federal Government,” the information memoranda informed EIG (and other

prospective investors) that Sete would benefit by a “special focus” on debt financing from Banco

Nacional de Desenvolvimento Econômico e Social (“BNDES”), the Brazilian state-owned

development bank. Indeed, the information memoranda stated that Sete expected the single

largest element of its overall capitalization to come in the form of loans from BNDES. Stated

differently, the information memoranda emphasized to potential investors – such as EIG and the

Funds – that their equity investments (amounting to hundreds of millions of dollars) would be

prudent because, although massive amounts of debt capital would also be necessary for Sete’s

success, such debt capital would be readily available to Sete because of Sete’s preferential

relationship with the Brazilian government and financial institutions under the effective control

of the Brazilian government.

               35.     Petrobras installed its own former employees as Sete’s top executives.

Thus, Petrobras appointed Ferraz, who upon information and belief had previously spent more

than 30 years working in a variety of roles at Petrobras, to be Chief Executive Officer of Sete.

Likewise, upon further information and belief, Barusco and Musa both worked at Petrobras for at

least 20 years before Petrobras appointed them to be Sete’s Chief Operating Officer and

Engineering Director, respectively. By 2010, Sete had been formed and the stage was set for a

new wave of corruption at Petrobras.



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       Petrobras and Ex-Petrobras
       Officials Fraudulently Induce EIG
       and the Funds to Invest in Sete in
       Furtherance of the
       Petrobras Corruption Scheme

               36.     To perpetuate its corruption scheme, Petrobras needed to raise capital for

Sete. In furtherance of that effort, Petrobras sent EIG a “Confidential Information

Memorandum” dated January 2010, prepared by Petrobras and one of its affiliates (the

“Petrobras Memorandum”). The Petrobras Memorandum provided a detailed discussion as to

the business and long term strategic reasons for why Petrobras was forming Sete. The Petrobras

Memorandum also made clear that Petrobras was specifically targeting U.S. investors as sources

of capital for Sete, and that an investment in Sete was attractive because there would be “long-

term contracts with high probability of cash flows” and “opportunities for long-term upsides that

are very advantageous.” The Petrobras Memorandum listed Ferraz, who was an employee of

Petrobras, as the primary contact person for potential investors interested in Sete.

               37.     The Petrobras Memorandum identified for potential investors seven

different “Risk Factors” associated with investing in Sete, including risks relating to project

design and engineering defects, cost overruns, operational delay, drillship performance in deep

water, refinancing, taxes and environmental. That there were only seven Risk Factors was

materially false, as there was an eighth undisclosed Risk Factor – that Petrobras had, for many

years, been engaged in a massive bribery and kickback scheme, and planned to perpetuate and

expand its corrupt scheme through Sete.

               38.     The Petrobras Memorandum and other written materials that Petrobras

provided to EIG stated that Sete would enter into drillship construction contracts with shipyards

that would, among other things, oblige each shipyard to “comply with . . . applicable laws.”

That representation was false, as Petrobras knew that the shipyards – including those owned
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and/or operated by the Shipyard Defendants – would be committing Brazilian crimes by paying

bribes to executives of Petrobras, ex-Petrobras cronies installed by Petrobras at Sete and the

Workers Party.

               39.     The Petrobras Memorandum did not disclose any information about the

massive bribery and kickback scheme that Petrobras intended to perpetuate and expand through

Sete, nor the risk that disclosure of this corrupt scheme would cause the complete failure of Sete.

Nor did Petrobras disclose that the Petrobras executives, including Ferraz and Barusco, that

Petrobras intended to insert into Sete management were actively involved in orchestrating a

massive bribery scheme on behalf of Petrobras and the Workers Party.

               40.     In September of 2010, EIG received in Washington, D.C. a multi-page

presentation compiled by Petrobras entitled, “The Drilling Rigs Project: Petrobras’ Strategy for

its Successful Implementation” (the “Petrobras Drilling Presentation”). The only Petrobras

employee referenced in this document was Ferraz, who was listed as the apparent author and

who was identified by the title, “Petrobras-Finance Treasury, General Manager.” The Petrobras

Drilling Presentation discussed the long term strategic and financing goals for an off-balance

sheet “finance structure” to develop and to charter drillships to Petrobras so that Petrobras could

extract oil and gas from the Santos and Campos Basins. Such “finance structure” became Sete.

Petrobras, in its dissemination of the Petrobras Drilling Presentation, specifically targeted U.S.

investors. Indeed, the Petrobras Drilling Presentation contained a section titled “Cautionary

Statement for US Investors,” which read:

               “The United States Securities and Exchange Commission permits
               oil and gas companies, in their filings with the SEC, to disclose
               only proved reserves that a company has demonstrated by actual
               production or conclusive formation tests to be economically and
               legally producible under existing economic and operating
               conditions. We use certain terms in this presentation, such as oil
               and gas resources, that the SEC’s guidelines strictly prohibit us
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               from including in filings with the SEC.”

               41.     The Petrobras Drilling Presentation contained a number of fraudulent

misrepresentations. The Petrobras Drilling Presentation identified six potential risks under the

heading “Main Risks and Challenges,” including “Credit Risk,” “Short Fall of Revenues,”

“Charter Daily Rates,” “Guarantees,” “Technological Risk” and “Delay and Cost Overrun.” The

listing of only six “Main Risks and Challenges” was materially false, because there was a

seventh, enormous “main risk” with the investment – that Petrobras had been engaged for years

in a massive corruption scheme, and that it intended to expand and perpetuate that scheme

through the Sete vehicle.

               42.     Petrobras also misrepresented in the Petrobras Drilling Presentation the

“Main Players Objectives – Petrobras and Brazilian Government.” According to Petrobras, its

“Main Objectives” were “[t]o ensure the availability of its demand for drilling rigs for Pre Salt

application, minimizing charter costs and associated risks.” That representation was materially

false because, upon information and belief, one of Petrobras’s main objectives with Sete was to

perpetuate and expand its longstanding corruption scheme to enrich Petrobras executives and the

Workers Party.

               43.     The Petrobras Drilling Presentation also included a flow chart that

purported to describe “The Basic Structure for Each Drilling Unit.” That flow chart was

materially false, as it did not reflect a key element of the basic structure in that the shipyards –

including those owned by the Shipyard Defendants – would be paying executives of Petrobras,

Sete and the Workers Party bribes with respect to each drillship.

               44.      In October of 2010, EIG received in Washington, D.C. a document

prepared and circulated by Petrobras entitled, “Pre-Salt Oil Rigs Project.” This document also

discussed the Sete investment premise and touted that Sete would have “management with
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extensive experience in the market.” This document did not disclose, however, that such

management, which included Ferraz, would be perpetuating and expanding Petrobras’s

corruption and bribery scheme.

               45.     Also in October of 2010, employees of EIG met with Ferraz, who was

then still employed by Petrobras, at the offices of Petrobras in Rio de Janeiro, Brazil. While

Ferraz discussed the Sete project, he did not disclose that Petrobras intended to use Sete to

continue and expand the Petrobras Corruption Scheme.

               46.     During March 2011, EIG representatives again met in Brazil with Ferraz,

who at the time was a Petrobras employee. During that meeting, Ferraz again discussed Sete, but

did not disclose Petrobras’s intention to use Sete to continue and expand the corrupt scheme that,

at the time, had already been in place at Petrobras for many years.

               47.     On or about September 14, 2011, Lakeshore Financial Partners

Participações Ltda. – acting, upon information and belief, as an agent of and/or financial adviser

to Sete and/or Petrobras – transmitted to EIG, again at its offices in Washington, D.C., yet

another confidential information memorandum promoting investment in Sete, dated September

2011 (the “Lakeshore Memorandum”). The Lakeshore Memorandum repeated the

representations contained in the Petrobras Memorandum, concerning the construction contracts

that Sete would enter into with shipyards, and the ways in which Sete would use the equity and

debt financing it raised. And again, while this document warned of a number of potential

operational risks with Sete, there was no mention of the Petrobras Corruption Scheme.

               48.     Throughout the periods referenced above, Ferraz also transmitted

numerous e-mails concerning Sete to EIG in Washington, D.C. Like Petrobras’s and Sete’s

other written and oral statements to EIG, none of these e-mails disclosed the Petrobras

Corruption Scheme.
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               49.      For example, on October 5, 2011, Ferraz communicated by e-mail with

EIG, at EIG’s offices in Washington, D.C., to report on Sete’s progress in bidding for drillship

charter agreements with Petrobras, and touted Sete’s intention and ability “to achiev[e]

conditions that are both doable for Sete and its shareholders and practically unbeatable by

[Sete’s] competitor.”

               50.      On December 23, 2011, Ferraz communicated by e-mail with EIG, at

EIG’s offices in Washington, D.C., to report that he and others from Sete had traveled to China

for meetings with “high level persons” of China Investment Corp. (“CIC”). Ferraz further

reported that the CIC representatives he met with had said “unofficially” that CIC was “very

inclined to invest in Sete,” and that an investment in Sete by CIC would both “open the door to

large international investors, including other sovereign funds” and “increase the success of

[Sete’s] future IPO.”

               51.      Ferraz also traveled to the United States several times to meet with

representatives of EIG for the purpose of promoting investments in Sete.

               52.      For example, one such meeting took place in Houston, Texas during the

spring of 2013. At that meeting, Ferraz offered rosy descriptions of Sete and its business

prospects. But he never disclosed to EIG the massive Petrobras Corruption Scheme in which he

was participating personally, and which involved, among others, Petrobras, its executives, the

Workers Party and the Shipyard Defendants.

               53.      In September 2013, in his capacity as a representative of Sete, Ferraz

attended in Washington, D.C. an annual conference EIG holds for its investors, involving

approximately 300 attendees and including representatives of numerous U.S. and state municipal

pension plans, U.S. insurance companies and individual U.S. investors. The purpose of the

conference was to review current investments, and prospective investment opportunities, for EIG
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and the Funds. During the conference, Ferraz informed EIG and EIG’s investors in the Funds

that Sete expected drillship charter revenue “of almost $90 billion [in] the next 20 years.” Ferraz

also reported that Sete was “ahead of schedule,” and was “not facing any problem to raise” the

necessary debt financing called for in its business plan. Ferraz assured EIG and EIG’s Fund

investors that by 2019, Sete would “have 90 percent of all rigs already in operation,” and that its

“EBITDA [would] be $4.6 billion per year.” Finally, Ferraz told EIG and EIG’s Fund investors

that Sete was “performing as planned,” and that he “[didn’t] see any reason why [Sete] should

deviate from that.” Ferraz’s oral statements perpetuated the pattern of deception and lies

promulgated in the various marketing materials previously provided to EIG. And Ferraz must

have known he was doing so given that, upon information and belief, by September 2013, he had

been participating personally and directly for several years in the Petrobras Corruption Scheme.

               54.      Based on the glowing investment projections embedded in the above-

described marketing materials, e-mails and oral presentations, EIG and the Funds began to invest

in Sete in or about August 2012. Between August 2012 and May 2013, the Funds invested

approximately $77.4 million in Sete. Subsequent to the September 2013 EIG investor

conference, at which Ferraz spoke so enticingly (but fraudulently) concerning Sete, the Funds

invested over $143 million more in Sete. Ultimately, the Funds’ aggregate investment in Sete

totaled $221,133,393.

       Brazilian Police and Prosecutors
       Uncover the Petrobras Corruption Scheme

               55.      In or about 2014, federal police and prosecutors in Brazil initiated the

Operation Car Wash investigation. Although the investigation initially concerned alleged money

laundering by a number of criminal organizations, it ultimately revealed that Petrobras had, for

many years, been involved in an enormous corruption scheme including, but also pre-dating, the

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Petrobras Corruption Scheme. As a result of Operation Car Wash, authorities in Brazil have

charged and/or convicted numerous current and former Petrobras executives and Brazilian

politicians of various crimes including those related to the Petrobras Corruption Scheme. To

date, 93 individuals have been convicted of crimes in connection with Operation Car Wash.

               56.     Upon information and belief, in or about November 2014, the police and

prosecutors conducting Operation Car Wash arrested Barusco on suspicion that he had been

involved in corruption during his tenure at Petrobras. Subsequently, Barusco, Ferraz and Musa

all entered into plea arrangements with Brazilian prosecutors and police wherein they agreed to

cooperate with the investigation in exchange for lighter sentences. In connection with those

arrangements, Barusco, Ferraz and Musa agreed to return, in the aggregate, close to $100 million

in bribes that they had personally received.

               57.     In addition to agreeing to return ill-gotten money, Barusco provided

extensive information to Brazilian police and prosecutors, and to the Brazilian Congress,

demonstrating both the scope and duration of the corruption scheme at Petrobras, and the

development of the Petrobras Corruption Scheme. Tellingly, in his sworn testimony before the

Brazilian Congress, Barusco stated that “[t]he issue of [Sete], about the establishment of bribe

amounts, was a continuity of what happened in PETROBRAS” (emphasis added). In other

words, upon information and belief, the moment that Ferraz and Barusco – while they worked at

Petrobras – came up with the idea to form Sete, they were well aware, and intended, that Sete

would perpetuate and expand the longstanding bribery and kickback scheme involving Petrobras,

its executives, the Workers Party, and, upon information and belief, Odebrecht, Keppel and

others.

               58.     According to Barusco’s plea statements, he personally began receiving

bribes as a Petrobras employee in or about 1997. Barusco described that, from at least as early as
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2003, corruption within Petrobras was “endemic and institutionalized.” Bribery and kickbacks

were “built in” to contracts and were “understood to be part of the relationship” between

Petrobras and most persons and entities with whom Petrobras had business dealings. It was, to

use Barusco’s words, Petrobras’s “modus operandi” to require some form of bribe or kickback

payment in almost all of its business dealings. Although the exact corrupt practices varied from

contract to contract, bribes and kickbacks paid in connection with Petrobras contracts generally

were split, with a portion going to Vaccari – the Secretary of Finance and Planning of the

Workers Party – and the balance going to “the House,” which consisted of Duque, Barusco and,

on occasion, other Petrobras executives. Barusco explained in his plea statements and in

testimony before the Brazilian Congress that he would at times keep bribe money at his own

house, and that he was often responsible for distributing Duque’s agreed-upon share of the bribes

to foreign bank accounts on a monthly basis. The scope of this corruption, both in terms of the

number of people involved and the amount of bribes paid, was massive – between 2005 and

2010 alone, Barusco estimated that Duque and he received millions of dollars in bribes in

connection with 60 separate Petrobras contracts.

               59.    Upon information and belief, the pre-Petrobras Corruption Scheme at

Petrobras involved many repeat players. In his plea statements, Barusco described a “cartel” for

contract acquisition in which certain corporations and their agents systematically paid bribes and

kickbacks to Petrobras executives and Workers Party officials in exchange for preferential access

to various kinds of Petrobras contracts. Although membership in this cartel changed and grew

over the years, Barusco identified defendant Odebrecht as a long-term, “hard core” participant.

Specifically, Barusco stated that between 2004 and 2010, Odebrecht paid bribes in connection

with nine separate Petrobras contracts and that Odebrecht director Rogério de Araújo

(“Araújo”), personally acted as an agent in the payment of many of those bribes. As Operation
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Car Wash would later reveal, several other high-ranking Odebrecht executives participated

actively in the payment of bribes and kickbacks in exchange for Petrobras contracts. Indeed,

Marcelo Odebrecht, Odebrecht’s Chief Executive Officer, has been convicted and sentenced to

serve 19 years in jail in connection with Operation Car Wash. Upon information and belief,

since at least 2003, Keppel had also paid substantial bribes to representatives of Petrobras and

the Workers Party.

               60.    In his plea-related statements and testimony, including Collaboration

Agreement No. 1, dated March 3, 2014, between Barusco and, among others, the Brazilian

Bureau for the Repression of Financial Crimes and Deviations of Public Resources, Barusco

described the Petrobras Corruption Scheme:

       •   Duque and Gonçalves of Petrobras, Vaccari of the Workers Party and Ferraz,
           Barusco and Musa of Sete, and the agents of the shipyards with whom Sete
           contracted to build drillships, including those controlled by the Shipyard
           Defendants, agreed that approximately 1 percent of the value of each of Sete’s
           construction contracts -- whose total value was approximately $22 billion –
           would be paid as bribes;

       •   The Odebrecht Shipyard received six Sete contracts in exchange for the
           payment of bribes – Araújo, then an Odebrecht executive, was responsible for
           the payment of bribes;

       •   The Keppel Shipyard received six Sete contracts in exchange for the payment
           of bribes – Zwi Skornicki (“Skornicki”) was responsible for the payment of
           bribes on behalf of the Keppel Shipyard, and Skornicki paid at least $4.5
           million in bribes;

       •   The Sembcorp Shipyard received six Sete contracts in exchange for the
           payment of bribes – Guilherme Esteves de Jesus (“de Jesus”) was responsible
           for the payment of bribes on behalf of the Sembcorp Shipyard, and de Jesus
           paid at least $5 million in bribes;

       •   The bribes on these Sete contracts – like the bribes paid in connection with
           past Petrobras contracts – generally were split, with two-thirds going to
           Vaccari of the Workers Party and one-third shared between “House 1” (which
           consisted of Petrobras executives Duque and Gonçalves) and “House 2”
           (which consisted of Sete executives Barusco, Ferraz and Musa). Unbeknown
           to the other bribe recipients, Barusco negotiated an additional bribe from the
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           Sembcorp and Keppel Shipyards in the amount of 0.1% of contract value to be
           paid only to Barusco;

       •   In or about October 2011, Barusco, Duque and Ferraz traveled to Milan, Italy
           to meet with representatives of Banque Cramer, a bank based in Switzerland;

       •   Following that meeting, Barusco, Duque, Ferraz and Musa opened accounts at
           Banque Cramer, in the names of phantom companies, into which bribes from
           the Shipyard Defendants and others were deposited; and

       •   Duque, Gonçalves, Barusco, Ferraz, Musa and Vaccari all received millions of
           dollars in bribes from the shipyards, including those controlled by the
           Shipyard Defendants, and/or their owners, agents or representatives, in
           exchange for Sete contracts.

               61.     Upon information and belief, the Shipyard Defendants had knowledge of,

authorized and/or directed the payment of bribes to representatives of Petrobras, Sete and/or the

Workers Party in exchange for shipbuilding contracts.

               62.     Upon information and belief, Petrobras, the Shipyard Defendants and

others (including but not limited to the ex-Petrobras officials installed at Sete by Petrobras)

colluded to exchange illegal bribes for Sete shipbuilding contracts. Although the exact timing

and size of the bribes appear to have varied from shipyard to shipyard and from contract to

contract, Barusco’s statements and testimony indicate that the shipyards – by and through their

agents and/or parent companies – generally paid approximately 1 percent of the value of their

contracts as bribes, and that these payments were mostly made in and before 2013. Upon

information and belief, the shipyards and/or their parents, including the Shipyard Defendants,

agreed to pay bribes in exchange for Sete contracts – and thereby joined the conspiracy – well

before those bribes were actually paid. At the moment that the Shipyard Defendants agreed to

pay bribes, they became liable for all acts taken by their co-conspirators in furtherance of the

Petrobras Corruption Scheme.

               63.     Upon information and belief, the Petrobras Corruption Scheme required a

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substantial influx of capital from investors to be effective, and it was equally important to all the

co-conspirators that investments be procured without risking public revelation of their illegal

activities. Without investors funding their multi-billion dollar shipbuilding and oil-extracting

enterprise, neither the payers nor the recipients of the illegal bribes would have received the

benefit of their quid pro quo. And, in order to secure investors while simultaneously protecting

the viability of their illegal enterprise, Petrobras and the ex-Petrobras officials installed at Sete

by Petrobras needed to conceal from those investors the corruption scheme in which Sete was

embroiled. Thus, upon information and belief, when Petrobras and its Sete-installed cronies

fraudulently misrepresented and omitted facts to investors in order to both fund and conceal their

intended and ongoing bribery scheme, those actions were taken in direct furtherance of the

Petrobras Corruption Scheme and the conspiracy involving all defendants.

                64.     Brazilian prosecutors have charged and/or convicted various individuals in

connection with Operation Car Wash, including Barusco, Duque, and Vaccari. Barusco was

originally sentenced to 18 years in prison in 2014 for, among other things, his involvement in the

Petrobras Corruption Scheme, but that sentenced was later reduced to two years of alternative

confinement in exchange for his full cooperation in the investigation. In September 2015, Duque

was convicted by a Brazilian court for the crimes of bribery and money laundering related to his

involvement in the Petrobras Corruption Scheme, and is currently serving a prison sentence of

more than 40 years for that and subsequent convictions. Vaccari was also convicted in

September 2015 and received a 15 year prison sentence for, among other things, receiving bribes

in connection with Sete contracts.

                65.     In its most recent phases, Operation Car Wash has focused on the bribe-

payers involved in the Petrobras Corruption Scheme, including the Shipyard Defendants. The

direct involvement of “cartel” member Odebrecht in the Petrobras Corruption Scheme has been
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confirmed by Operation Car Wash. To date, Brazilian prosecutors have brought charges against

over a dozen past and present Odebrecht executives and employees – including its former

director Araújo, CEO Marcelo Odebrecht, and president Márcio Faria – for their involvement in

the payment of bribes in exchange for Sete contracts. For example, in a press release dated

February 22, 2016, Brazilian Prosecutors revealed that Odebrecht, through accounts hidden

abroad in the name of offshore companies – Klienfeld and Innovation – transferred

approximately $3 million between April 2012 and March 2013 as a bribe to members of

Petrobras and the Workers Party. Upon information and belief, Brazilian prosecutors are still

investigating the involvement of Odebrecht and/or its subsidiary Odebrecht Engenharia in the

Petrobras Corruption Scheme.

               66.    In the same February 22, 2016 press release, Brazilian prosecutors

announced that Skornicki, who, upon information and belief was an agent of Keppel and Keppel

Offshore, had been arrested for allegedly paying over $10 million in bribes between 2003 and

2013 – and another $4.5 million between 2013 and 2014 – to Petrobras, ex-Petrobras officials

installed at Sete, and Workers Party representatives. Upon information and belief, Brazilian

prosecutors are still investigating the involvement of Keppel and/or Keppel Offshore in the

Petrobras Corruption Scheme.

               67.    In May 2015, formal charges were brought against de Jesus, who, upon

information and belief, was a former agent of Sembcorp, Sembcorp Marine and Jurong.

Brazilian prosecutors accused him of corruption, embezzlement and money laundering related to

his involvement in the Petrobras Corruption Scheme. In all, de Jesus is alleged to have passed at

least $8.2 million in bribes to Petrobras executives. In its own press release dated March 30,

2015, Sembcorp Marine admitted that de Jesus “is connected to companies which were engaged

by [Sembcorp Marine] subsidiaries as consultants in connection with the [Sete] Contracts.”
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Notably, in that press release, Sembcorp Marine did not deny the allegations of its involvement,

instead stating that it “is unable to comment on the truth or otherwise of these allegations

[because] its internal (legally privileged) investigations are continuing.” Upon information and

belief, Brazilian prosecutors are still investigating the involvement of Sembcorp, Sembcorp

Marine and/or Jurong Shipyard in the Petrobras Corruption Scheme.

               68.      The public revelation of the Petrobras Corruption Scheme, and of the

substantial and direct involvement of ex-Petrobras officials installed at Sete in that scheme, has

had a devastating impact on Sete. As a result of this revelation, upon information and belief,

Sete has had its bank financing lines cut off and the raising of further debt or equity rendered

impossible; it has defaulted on its shipbuilding contracts for lack of money to pay necessary

installments; and the lack of drillships has led to the cancellation (or an inability to timely

perform) the Petrobras charter contracts that were to underpin its entire business plan. Indeed,

during Barusco’s testimony before the Brazilian Congress on March 10, 2015, a legislator asked

Barusco about the impact of the corruption scandal on Sete and its investors. In response,

Barusco testified:

               “The [Sete] project is an intelligent project. It is a structuring that
               made things work. There was just one detail: it was obviously very
               dependent on financing from the BNDES – extremely dependent.
               And with the discovery of the information that there was payment
               of bribes on contracts with the shipyards, the financial agents
               backed away. And if there is no contribution of the funds that are
               called for, that are in the Budget, are in the planning, Sete really
               can go bankrupt, it could end up unable to honor its
               commitments.”

               69.      This prediction, in fact, came to pass. In April 2016, Sete filed for

bankruptcy in Brazil.

               70.      Upon information and belief, as a result of the Petrobras Corruption

Scheme, Sete is insolvent, and the Funds’ investment in Sete is now worthless.
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               71.     In light of Barusco’s stunning admissions, it appears that Petrobras created

Sete, and installed its own trusted former employees as Sete’s most senior officers, with the

intention that Sete would perpetuate and expand the corruption scheme that had already been in

place at Petrobras for as long as a decade or more. It further appears that Petrobras and ex-

Petrobras cronies installed by Petrobras at Sete solicited investments from EIG-managed Funds

and other investors with the knowledge and intention that the money those investors entrusted to

Sete would be used to fund a secret plan to generate contracts that, in turn, facilitated the

payment of unlawful bribes and kickbacks by, among others, the shipyards owned and operated

by the Shipyard Defendants. And given Sete’s heavy reliance on debt funding from BNDES and

other government-backed lenders, all of its co-conspirators were surely aware of a substantial

risk – never disclosed to EIG or the Funds – that the Petrobras Corruption Scheme, if it ever

came to light, would have a catastrophic impact on Sete and its investors. And that is exactly

what happened.

                                     First Cause of Action
                                 (Fraud – Defendant Petrobras)

               72.     Plaintiffs repeat each and every prior allegation, as if fully set forth herein.

               73.     The Petrobras Memorandum, the Petrobras Drilling Presentation and the

other written materials that Petrobras prepared and supplied to EIG and the Funds contained

material misrepresentations and made no mention of the Petrobras Corruption Scheme. Nor did

Petrobras disclose that scheme in any of the oral communications it had with EIG and the Funds

at any time before the Funds, under EIG’s direction, invested more than $221 million in Sete.

               74.     To the contrary, the written materials that Petrobras supplied to EIG and

the Funds misrepresented the risks, purposes and structure of the Sete project and that Sete’s

drillship construction contracts would require shipyards to “comply with . . . applicable laws.”

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                75.   The oral and written statements that Petrobras made to EIG and the Funds

concerning Sete – in addition to including affirmative falsehoods – were incomplete and

misleading in the absence of disclosure concerning the corruption scheme in which defendants

and Sete were engaged.

                76.   Had EIG and the Funds known about the falsity of Petrobras’s statements

and the existence of the Petrobras Corruption Scheme, EIG would have never caused the Funds

to invest in Sete.

                77.   Information about the Petrobras Corruption Scheme in which Petrobras

and the Shipyard Defendants were engaged was peculiarly within the knowledge of Petrobras.

                78.   The false statements that Petrobras made to EIG and the Funds, and the

information that Petrobras concealed from them, were material. As a result of Petrobras’s false

statements and omissions, EIG and the Funds did not know the almost certain risk that if the

Petrobras Corruption Scheme ever came to light, Sete’s business would suffer irreparable, direct

and immediate harm and the value of any investment in Sete would decline or be destroyed

entirely.

                79.   Neither EIG nor any of the Funds was aware of the falsity of the

statements that Petrobras made to them concerning Sete, or of the existence of the Petrobras

Corruption Scheme. Plaintiffs could not have discovered the falsity of Petrobras’s statements,

nor could they have become aware of the Petrobras Corruption Scheme, through reasonable

diligence, at any time before the Funds, at EIG’s direction, invested money in Sete.

                80.   Upon information and belief, Petrobras knew that it had made written

and/or oral statements concerning Sete to EIG and the Funds that were false, and/or that were

materially misleading absent disclosure of the Petrobras Corruption Scheme it was conducting

with Sete, the Shipyard Defendants and others. Upon further information and belief, Petrobras
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made those false and/or materially misleading statements, and/or omitted material information

from its statements, with the intention that EIG and the Funds would rely on them.

               81.     EIG and the Funds actually and reasonably relied on the false and/or

materially misleading oral and written statements that Petrobras made to them by, among other

things, investing money in Sete. Had EIG and the Funds known the true facts, including the

existence and scope of the Petrobras Corruption Scheme, the Funds, at EIG’s direction, would

not have made such an investment.

               82.     As a direct and proximate result of their reliance on Petrobras’s false

and/or materially misleading statements, Plaintiffs have suffered damages in an amount to be

proved at trial, but in no event less than $221,133,393.

               83.     Petrobras acted in willful disregard of Plaintiffs’ rights, and of the

wrongful nature of its course of deceitful conduct. Accordingly, Plaintiffs are entitled to recover

punitive damages in an amount to be proved at trial.

                                  Second Cause of Action
                     (Aiding and Abetting Fraud – Defendant Petrobras)

               84.     Plaintiffs repeat each and every prior allegation, as if fully set forth herein.

               85.     The oral and written statements concerning Sete made to EIG and the

Funds by ex-Petrobras officials intentionally installed by Petrobras as the most senior officers at

Sete – in addition to including affirmative falsehoods – were materially misleading absent

disclosure concerning the corruption scheme in which defendants were engaged.

               86.     Had EIG and the Funds known about the falsity of these statements, the

existence of the Petrobras Corruption Scheme, and Petrobras manipulation of Sete to cause it to

enter into shipbuilding contracts embroiled in a bribery and kickback scheme, the Funds never

would have invested in Sete.

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                 87.   Information about the Petrobras Corruption Scheme was peculiarly within

the knowledge of Petrobras, ex-Petrobras officials installed at Sete and the Shipyard Defendants

all times before the Funds, at EIG’s direction, invested money in Sete.

                 88.   The false statements by Sete’s senior officers (all ex-Petrobras) made to

EIG and the Funds, and the information that such ex-Petrobras officers concealed from them,

were material. As a result of these false statements and omissions, EIG and the Funds did not

know the almost certain risk that if the Petrobras Corruption Scheme ever came to light, Sete’s

business would suffer irreparable, direct and immediate harm and the value of any investment in

Sete would decline or be destroyed entirely.

                 89.   Neither EIG nor any of the Funds was aware of the falsity of the

statements Petrobras and ex-Petrobras officials made to them concerning itself, or of the

corruption scheme that defendants were conducting. Plaintiffs could not have discovered the

falsity of these statements, nor could they have become aware of the Petrobras Corruption

Scheme, through reasonable diligence, at any time before the Funds, at EIG’s direction, invested

money in Sete.

                 90.   Upon information and belief, Sete (acting through Petrobras-installed

senior officers) knew that it had made written and/or oral statements concerning itself to EIG and

the Funds that were false, and/or that were materially misleading absent disclosure of the

Petrobras Corruption Scheme it was conducting with defendants. Upon further information and

belief, such false and/or misleading statements were made, and/or material information was

omitted from statements made to EIG and the Funds, with the intention that EIG and the Funds

would rely on them.

                 91.   EIG and the Funds actually and reasonably relied on the false and/or

materially misleading oral and written statements made to them by, among other things,
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investing money in Sete. Had EIG and the Funds known the true facts, the Funds, at EIG’s

direction, would not have made such an investment.

               92.     As a direct and proximate result of their reliance on such false and/or

materially misleading statements, Plaintiffs have suffered damages in an amount to be proved at

trial, but in no event less than $221,133,393.

               93.     Upon information and belief, Petrobras was aware of the fraud that its

Sete-installed officers perpetrated on EIG and the Funds by concealing the Petrobras Corruption

Scheme from EIG and the Funds through a pattern of false and/or materially misleading

statements.

               94.     Upon further information and belief, Petrobras substantially assisted those

Sete officers in perpetrating that fraud by, among other things, creating Sete with the intention of

continuing and expanding a bribery scheme that had already been in place at Petrobras for many

years; participating in the Petrobras Corruption Scheme; appointing to key executive roles at

Sete individuals who had been involved in the corrupt scheme when they were employed by

Petrobras; and making its own materially false and/or misleading statements to EIG and the

Funds, in order to induce the Funds to invest in Sete.

               95.     Accordingly, Petrobras has aided and abetted in a fraud perpetrated by

Sete, acting under the direction of ex-Petrobras officers then in charge of Sete, against EIG and

the Funds.

               96.     As a direct and proximate result of Petrobras’s misconduct, Plaintiffs have

suffered damages in an amount to be proved at trial, but in no event less than $221,133,393.

               97.     Petrobras acted in willful disregard of Plaintiffs’ rights, and of the

wrongful nature of its course of deceitful conduct. Accordingly, plaintiffs are entitled to recover

punitive damages in an amount to be proved at trial.
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                                    Third Cause of Action
                        (Civil Conspiracy to Defraud – All Defendants)

               98.     Plaintiffs repeat each and every prior allegation, as if fully set forth herein.

               99.     Upon information and belief, all of the defendants agreed to participate in

– and in fact did participate in – the Petrobras Corruption Scheme, an unlawful and tortious

conspiracy. Among other things, the unlawful objects of that conspiracy included (a) paying

illegal bribes and kickbacks to representatives of Petrobras, ex-officials of Petrobras installed at

Sete and/or representatives of the Workers Party in exchange for shipbuilding contracts and (b)

preventing the public disclosure of those bribe payments by, among other things, fraudulently

concealing the existence of those payments from Sete investors.

               100.    Upon information and belief, multiple overt acts were taken in furtherance

of this unlawful conspiracy. Upon information and belief, the Shipyard Defendants, either

directly or through their agents, knowingly paid and/or authorized the payment of bribes and

kickbacks to representatives of Petrobras, Sete and/or the Workers Party in exchange for Sete

shipbuilding contracts. In an effort to finance this unlawful conspiracy while maintaining its

covert nature, and thus with at least the implicit assent of all co-conspirators, Petrobras and its

Sete-installed Petrobras cronies fraudulently induced the Funds to invest in Sete through

materially false and misleading written and oral statements.

               101.    Upon information and belief, the Shipyard Defendants’ agreement to join

the Petrobras Corruption Scheme occurred before and/or during the time Petrobras and Sete-

installed Petrobras cronies perpetrated acts of fraud upon EIG and the Funds, and thus those acts

of fraud – whether or not explicitly agreed to or even known about by the Shipyard Defendants –

can be fully imputed to them for the purposes of imposing civil conspiratorial liability.




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               102.    As a direct and proximate result of wrongful acts by defendants in

furtherance of their unlawful conspiracy, plaintiffs have suffered damages in an amount to be

proved at trial, but in no event less than $221,133,393.

               103.    As a co-conspirator, Petrobras is liable for its own acts, and is vicariously

liable for the acts of all other co-conspirators taken in furtherance of the conspiracy, regardless of

whether Petrobras knew of, participated actively in or benefited directly from those acts.

               104.    As co-conspirator, Odebrecht is liable for its own acts, and is vicariously

liable for the acts of all other co-conspirators taken in furtherance of the conspiracy, regardless of

whether it knew of, participated actively in or benefited directly from those acts.

               105.    As co-conspirator, Odebrecht Engenharia is liable for its own acts, and is

vicariously liable for the acts of all other co-conspirators taken in furtherance of the conspiracy,

regardless of whether it knew of, participated actively in or benefited directly from those acts.

               106.    As co-conspirator, Keppel is liable for its own acts, and is vicariously

liable for the acts of all other co-conspirators taken in furtherance of the conspiracy, regardless of

whether it knew of, participated actively in or benefited directly from those acts.

               107.    As co-conspirator, Keppel Offshore is liable for its own acts, and is

vicariously liable for the acts of all other co-conspirators taken in furtherance of the conspiracy,

regardless of whether it knew of, participated actively in or benefited directly from those acts.

               108.    As co-conspirator, Sembcorp is liable for its own acts, and is vicariously

liable for the acts of all other co-conspirators taken in furtherance of the conspiracy, regardless of

whether it knew of, participated actively in or benefited directly from those acts.

               109.    As co-conspirator, Sembcorp Marine is liable for its own acts, and is

vicariously liable for the acts of all other co-conspirators taken in furtherance of the conspiracy,

regardless of whether it knew of, participated actively in or benefited directly from those acts.
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               110.    As co-conspirator, Jurong is liable for its own acts, and is vicariously

liable for the acts of all other co-conspirators taken in furtherance of the conspiracy, regardless of

whether it knew of, participated actively in or benefited directly from those acts.

               111.    Defendants acted in willful disregard of Plaintiffs’ rights, and of the

wrongful nature of their course of deceitful conduct. Accordingly, Plaintiffs are entitled to

recover punitive damages in an amount to be proved at trial.


       WHEREFORE, Plaintiffs respectfully request judgment against defendants as follows:

               (a) Awarding them compensatory damages, on their first, second
                   and third causes of action, in an amount to be proved at trial,
                   but in no event less than $221,133,393;

               (b) Awarding them punitive damages, on their first, second and
                   third causes of action, in an amount to be proved at trial;

               © Awarding them prejudgment interest, as well as their costs and
                 disbursements incurred in connection with this action,
                 including reasonable attorneys’ fees; and

               (d) Awarding them such other and further relief as the Court
                   deems just and proper.


                                         JURY DEMAND

       Plaintiffs demand a trial by jury on all issues so triable.




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Dated: Washington, D.C.                 Respectfully submitted,
       May 18, 2016
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